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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                               :     Case No. 3:17-CV-72

                   Plaintiff                             :     Judge MOON


                                                         :
           -v-

    JASON KESSLER ET AL.                                 :

                                                         :
                   Defendants


                   MOTION TO DISMISS THE PLAINTIFF’S COMPLAINT



          Now comes defendant Vanguard America and moves the Court to dismiss the

    Plaintiff’s claims against it pursuant to FRCP 12.


                                                 Respectfully Submitted,


                                                 s/ Elmer Woodard
                                                 ELMER WOODARD (VSB 27734)
                                                 5661 US Hwy 29
                                                 Blairs, Va. 24527
                                                 (434) 878-3422
                                                 isuecrooks@comcast.net
                                                 Trial Attorney for Defendant




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                                     CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on December 7, 2017 upon:

       All parties of record. One party is entitled to or has requested service by other means
       and said party has been served by regular US mail as follows:
       Mr. Michael Enoch Peinovich
       PO Box 1069
       Hopewell Junction, NY 12533      .

                                                       s/ Elmer Woodard

                                                       E. Woodard (VSB 27734)




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